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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                Case No. 1:15-cr-00179
                                    )
v.                                  )                Honorable Gordon J. Quist
                                    )
JOHNATHAN HOUSEMAN,                 )
                                    )
            Defendant.              )
____________________________________)


                           REPORT AND RECOMMENDATION

       Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned case on

May 10, 2016, after receiving the written consent of defendant and all counsel. At the hearing,

defendant Johnathan Houseman entered a plea of guilty to the single count of the Indictment in

exchange for the undertakings made by the government in the written plea agreement. In the single

count of the Indictment, defendant is charged with conspiracy to distribute and possess with intent

to distribute a mixture or substance containing a detectable amount of methylenedioxy-

methamphetamine CN4DMA), a mixture or substance containing a detectable amount of D-Iysergic

acid diethylamide (LSD), and a mixture or substance containing 50 kilograms or more of marijuana,

all Schedule I controlled substances; and a mixture or substance containing a detectable amount of

ketamine, a Schedule III controlled substance in violation of 21 U.S.C. §§ 846, 841(a)(1), and

841(b)(1)(C).
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        On the basis of the record made at the hearing, I find that defendant is fully capable and

competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free

from any force, threats, or promises, apart from the promises in the plea agreement; that the

defendant understands the nature of the charge and penalties provided by law; and that the plea

has a sufficient basis in fact.

        Accordingly, I recommend that defendant's plea of guilty to the single count of the

Indictment be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.



Date: May 11, 2016                               /s/ Phillip J. Green
                                                PHILLIP J. GREEN
                                                United States Magistrate Judge




                                      NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See
W.D. MICH. L.CR.R. 11.1(d).




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